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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
__________________________________________
                                            )
In re:                                      )   Chapter 7
       BARRY WISNER CHAPIN,                 )   Case No. 20-10324-JEB
                                            )
       Debtor.                              )
                                            )
                                            )
HAROLD B. MURPHY, as he is the Chapter 7 )
Trustee of Barry Wisner Chapin,             )   Adversary Proceeding No.
              Plaintiff,                    )   20-01050
v.                                          )
                                            )
UNITED STATES OF AMERICA,                   )
DEPARTMENT OF THE TREASURY,                 )
INTERNAL REVENUE SERVICE,                   )
MASSACHUSETTS DEPARTMENT OF                 )
REVENUE, BARRY WISNER CHAPIN,               )
FERRIS DEVELOPMENT GROUP, LLC,              )
and CITY OF BOSTON,                         )
              Defendants.                   )
                                            )
                                            )
HAROLD B. MURPHY, as he is the Chapter 7 )      Adversary Proceeding No.
Trustee of Barry Wisner Chapin,             )   20-01063
              Plaintiff,                    )
v.                                          )
                                            )
OCEAN CITY LOFTS CONDOMINIUM                )
ASSOCIATION, INC., UNITED STATES OF )
AMERICA, and 104 ANDOVER COURT LLC, )
              Defendants.                   )
                                            )
                                            )
HAROLD B. MURPHY, as he is the Chapter 7 )      Adversary Proceeding No.
Trustee of Barry Wisner Chapin,             )   20-01090
              Plaintiff,                    )
v.                                          )
                                            )
OCEAN CITY LOFTS CONDOMINIUM                )   ORDER AND NOTICE OF
ASSOCIATION, INC., UNITED STATES OF )           VIDEO HEARINGS
AMERICA, and 104 ANDOVER COURT, LLC, )
              Defendants.                   )
                                            )
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                        ORDER AND NOTICE OF VIDEO HEARINGS

        To expedite and facilitate all video hearings in the above-captioned chapter 7 case and
related adversary proceedings, including the submission of evidence, the Court orders as follows:

I.      GENERAL PROVISIONS
.
     1. The Hearings. This Order shall apply to all hearings (collectively “Hearings”) that are to
        be held by video. No individual will be admitted into the courtroom for the Hearings or
        permitted to participate in the Hearings in any way not contemplated by this Order. This
        Order provides additional requirements related to the format of the Hearings, in addition
        to any requirements or deadlines set forth in orders entered regarding specific motions or
        other matters (the “Matters”).

     2. Service of Order.

        a.      Counsel for the Chapter 7 Trustee shall serve a copy of this Order on the United
                States Trustee, the Debtor, and all parties who have filed a notice of appearance,
                and file a certificate of such service by December 4, 2020.

        b.      Any party who intends to present evidence at a particular Hearing shall serve a
                copy of this Order on the party they represent and any witnesses they intend to
                call and file a certificate of service prior to the particular Hearing.

        c.      The Court may require additional service for a particular Matter be separate order.

     3. Hearings By Video. As a result of the dangers presented by the COVID-19 pandemic,
        compelling circumstances exist that constitute good cause to require that all aspects of the
        Hearings, including witness testimony, on the Matters proceed by video transmission
        rather than in person. See Fed. R. Civ. P. 43(a), made applicable to the Matters by Fed.
        R. Bankr. P. 9017. The Court finds that the procedures adopted herein will provide
        adequate and "appropriate safeguards" for purposes of Fed. R. Civ. P. 43(a) and ensure
        due process of law. These procedures will: (i) enable the Court to identify, communicate
        with, and assess the demeanor of all witnesses in real time; (ii) enable counsel for the
        parties or a pro se party to see and hear the testimony of witnesses, interpose objections,
        and communicate with the Court in real time; (iii) enable the parties, the witnesses, and
        the Court to have simultaneous access to an identical set of pre-marked proposed
        exhibits; (iv) avoid any undue influence or interference with witnesses in connection with
        their testimony; and (v) preserve the ability of the parties to communicate with their
        counsel during the Hearings off the record, as the Court deems appropriate.

     4. The Video Platform. The Hearings shall take place remotely using Zoomgov.com
        videoconference technology (“Zoom”). Zoom is available without charge for persons
        attending the Hearings. All counsel and witnesses who participate in the Hearings must
        undertake appropriate set up and testing of Zoom. Instructions for use of Zoom (the
        “Participant Guide for Video Hearings”) and links to its tutorials can be found on the
        Court’s website at:
        http://www.mab.uscourts.gov/pdfdocuments/mab_participant_video_guide.pdf
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      5. Required Equipment. The Participant Guide for Video Hearings provides information
         on what equipment counsel and interested parties must have to participate in the Hearings
         as well as helpful tips. By participating in the Hearings, counsel and interested parties
         affirm that they:

         a.      Have reviewed the Participant Guide for Video Hearings;
         b.      Have viewed Zoom tutorials as required by the Participant Guide for Video
                 Hearings; and
         c.      Understand that the Court will not provide technical support.


II.       INFORMATION REGARDING HEARING PARTICIPANTS

      1. Limit on Participation by Video. Parties and counsel are encouraged to limit video
         participation to those individuals who are necessary to the conduct of the Hearings. If the
         number of individuals wishing to participate in the Hearings, in the Court’s view, exceeds
         the number which would permit the efficient, stable, and reliable transmission of the
         Hearings by video, the Court may require that certain individuals participate in the
         Hearings only by telephone. The Court will provide to each individual participating by
         telephone separate dial-in instructions, which may be used with any telephone equipment.
         See ¶ V, 3 below for information on General Public Access.

      2. Notice of Participation. The participants shall include David G. Baker, Harold B.
         Murphy, Kathleen Cruickshank, Christopher Condon, Shawn Lu, Kevin Gaughen Jr.,
         Ellen A. Shapiro, Bradley Sarnell, and Christine E. Devine. Any other counsel and pro se
         parties (with the foregoing, collectively, “Participants”) who will be actively participating
         in a particular Hearing shall notify Leah Kaine, Courtroom Deputy, by e-mail at
         leah_kaine@mab.uscourts.gov no later than one week before the scheduled hearing,
         unless the Court sets a different deadline for a particular matter. The notification
         shall include the name and email address of each of the Participants as well as their
         respective roles in the Hearings. The notification must include the telephone number at
         which the Participants may be reached during the Hearings and what type of device they
         will be using if anything other than a personal computer or tablet.

      3. Hearings Invitation. Prior to a scheduled Hearing, the Courtroom Deputy will send an
         email to each Participant providing the login information to appear at that particular
         Hearing. Those who receive the Hearing login information from the Court may not
         forward or otherwise share that invitation with any other persons except that counsel may
         share the login information with their client and members of their firm and/or staff as
         necessary. Prior to the Hearing, the Courtroom Deputy will provide Hearing login
         information to all witnesses designated by the parties as set forth in ¶ III, 2 below.

      4. Participation at Hearing. All Participants expecting to participate in a Hearing and
         question a witness must attend the Hearing by video unless expressly exempted by the
         Court.



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III.      WITNESSES

       1. Remote Witness Testimony. Each witness called to testify shall be subjected to cross-
          examination at the Hearing and such testimony shall be by contemporaneous video
          transmission using Zoom, as provided in this Order. The Court will administer the oath
          to each witness during the Hearings, and witness testimony will have the same effect and
          be binding upon each witness in the same manner as if such witness was sworn in by the
          Court in person in open court.

       2. Witness Information. To provide additional safeguards for the acceptance of testimony
          from witnesses who are not physically present in the courthouse during the Hearings, any
          Participant calling a witness shall submit to the Courtroom Deputy, by e-mail at
          leah_kaine@mab.uscourts.gov no later than 24 hours before the Hearing, a list of
          witnesses who are reasonably anticipated to testify at the Hearing. Each list of witnesses
          must contain:

          a.      The name and title of each witness;
          b.      The place from which the witness will testify including city, state, and country
                  (e.g. home, office - no addresses are required);
          c.      The email address to which the Courtroom Deputy can send login information to
                  the witness; and
          d.      Whether anyone will be in the room with the witness during the testimony, and if
                  so, who (name, title, relationship to the witness), and for what purpose.

          The Participant shall also send a copy of the email at the same time to the Chapter 7
          Trustee, the Debtor, the United States Trustee, and any party who has filed a response or
          opposition to the Matters.

       3. Responsibility for Remote Witnesses. A Participant calling a witness shall be
          responsible for:

          a.      serving each witness with a copy of this Order and filing a Certificate of Service
                  to that effect prior to the particular Hearing;
          b.      ensuring that the witness has received the login information from the Courtroom
                  Deputy; and
          c.      ensuring that the witness has or has been offered access to: (i) all relevant exhibits
                  prior to the particular Hearing; (ii) Zoom; and (iii) and internet service and
                  required hardware at a suitable location sufficient to participate in the particular
                  Hearing.

          Witnesses must make reasonable efforts to be available for a test of Zoom if notified by
          the Courtroom Deputy.




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      4. Non-Party Witnesses Who Are Subject to a Subpoena. Non-party witnesses whose
         appearance has been compelled by subpoena or who have agreed to appear without
         service of a subpoena (“Non-Party Witnesses”) shall promptly provide to the Participant
         who intends to call them as a witness all of the information contemplated in ¶ III, 2
         above. The Non-Party Witness shall make reasonable efforts to ensure their participation
         by video as contemplated by this Supplemental Order, including, if the Non-Party
         Witness is unable to ensure access and a stable connection as recommended by the
         Participant Guide for Video Hearings, see
         http://www.mab.uscourts.gov/pdfdocuments/mab_participant_video_guide.pdf
         by appearing at a location offered by the Participant at which appropriate equipment has
         been provided.

      5. Conduct of the Witness During Testimony. When called to testify, a witness must be
         situated in such a manner as to be able to view the video screen and be seen by the Court.
         The Court and the Participants must be able to see clearly the entire face and shoulders of
         the witness. Unless otherwise permitted by the Court, while a witness is testifying at the
         Hearings, the witness shall not communicate with any person by any means, such as
         email, text, or handwritten notes, other than through the witness’s sworn testimony.
         During testimony, the witness shall not access any exhibits, notes, documents, emails,
         texts, or other electronically stored information or exhibits, except as directed by counsel
         or the Court.

      6. Witness Responsibilities During Testimony. Any witness who testifies during the
         Hearings is bound by the provisions of this Order and is subject to the impositions of
         sanctions for failure to comply with this Order as set forth in ¶ V, 6.

IV.      EXHIBITS

      1. Marking Exhibits. Each Participant must pre-mark copies of the proposed exhibits that
         the Participant reasonably anticipates offering at the Hearings. All pre-marked proposed
         exhibits must be aggregated into a PDF file or files, with a table of contents and
         bookmarks for each individual exhibit contained in the file(s) (“PDF Exhibits”).

      2. Delivering Exhibits to Participants and the Court. Each Participant must send, by
         email or other electronic means as may be approved by the Court, the PDF Exhibits to
         (a) jeb_exhibits@mab.uscourts.gov; and (b) the Debtor, the Chapter 7 Trustee, the
         United States Trustee, and any party who has filed a response or opposition to the
         Matters. The Court will establish the deadline for the submission of exhibits for a
         particular Hearing by separate order.

      3. Delivering Exhibits to Witnesses. Each Participant must provide the PDF Exhibits to
         each witness who may testify at a particular Hearing and ensure that the PDF Exhibits are
         actually received by the witnesses by the deadline established by the Court.

      4. Presenting Exhibits at the Hearing. Participants will utilize the Share Screen option
         on Zoom for the presentation of exhibits. Prior to the Hearing, the Participants must
         ensure that they are able to use Share Screen to enable the Court to identify and, if
         permitted, enter into evidence their proposed exhibits.
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     5. Impeachment/Rebuttal Exhibits. If a Participant wishes to use a document solely for
        impeachment or rebuttal purposes and such document was not contained in the PDF
        Exhibits, the Participant must be prepared to simultaneously email a PDF copy of the
        document to the Court and the witness during the Hearing.

V.      ADDITIONAL PROVISIONS

     1. Court Formalities. Although it will be conducted by video, each of the Hearings
        constitutes a court proceeding and all formalities of a court proceeding must be observed
        in all respects, including proper decorum and attire. Although proper decorum is
        required, Participants are not expected to stand when the Judge enters or leaves the video
        hearing. Participants may stand during their argument or when questioning witnesses if
        they prefer but are not required to do so. Unless otherwise ordered by the Court, the
        Participants must keep their video on at all times during the Hearings.

     2. Recesses. Parties may request a recess to confer by a private Zoom breakout room, by
        telephone or by other means provided that there is no communication with a witness who
        has been called to the stand before that witness’s testimony is concluded.

     3. General Public Access. The Hearings are open to the public. The public is invited to
        listen to the Hearings by telephone. Any person wishing to listen to a Hearing by
        telephone must email the Leah Kaine, Courtroom Deputy,
        leah_kaine@mab.uscourts.gov. Please note that if a request is not made at least one day
        prior to the particular Hearing, the Courtroom Deputy may not be able to respond.

     4. Recording Prohibited; Official Record. No person may record or capture images
        during the Hearings from any location by any means. The audio recording maintained by
        the Court will be the sole basis for creation of a transcript that constitutes the official
        record of the Hearings.

     5. Share Screen. The Share Screen function can only be used as permitted by the Court.

     6. Failure to Comply with This Order. Failure to appear at a scheduled Hearing or to
        comply with any terms of this Order, including the deadlines set forth herein, herein, may
        result in further orders including the imposition of sanctions against any person subject to
        this Order, such as by issuance of a reprimand, monetary fine, award of attorneys’ fees,
        and/or denial of the Matters or the overruling of an objection, as the circumstances
        warrant.



Dated: December 1, 2020                               _______________________________
                                                      ______________________________
                                                      Janet E. Bostwick
                                                      United
                                                      U i d States
                                                             S     Bankruptcy
                                                                    B k       Judge
                                                                              J d




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